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IN THE UNITED STATES DISTRICT C()URT
FOR THE SOU'I`HERN DISTRICT OF ALABAMA

SOUTHERN DIVISION

CANDICE L. BOX, )
)
Plaintiff, )
)

v. ) , CASE NO.: 1:17-CV-00122
)
GEICO CASUALTY COMPANY; )
GEICO GENERAL INSURANCE )
COMPANY, )
)
Defendants. )

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
COMES NOW the Plaintiff, Candiee L. Box, pursuant to Rule 41(a)(1)(ii), Alabama
Rules of Civil Procedure, and herebyr Voluntarily dismisses her _ Complaint, With prejudice,
against the Defendants, GEICO Casuaity Company and GEICO General Insurance Company.

Costs of this action are to be taxed as paid.

As the basis for said Stipuiation, the parties show unto this Court that a settlement has
been reached as to all controverted issues as evidenced by the signature of plaintiff and defense

counsel in the case set forth below.

Respectfully submitted Via the CM/ECF filing system on the Ql_"""n day of

 

 

()d`\'t)\o€f , 2017.
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Attorney for GEICO Casualty Company and
GEICO Generai Insurance Company,
Defendants

 

